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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 23-CV-80282-ROSENBERG


   ROBERT SCOT BUILDING VENTURE LLC;
   and RSBV Pathway LLC,

                                    Plaintiffs,

                            v.

   CREATIVE WEALTH MEDIA FINANCE CORP;
   and JASON CLOTH,

                                    Defendants.



    PLAINTIFF’S NOTICE OF INTENT TO SEEK ADJUDICATION OF DEPOSITION
                       DESIGNATIONS: JASON CLOTH

         Plaintiff hereby gives notice of its intent to seek adjudication of the admissibility of the

  following excerpts from the deposition of Defendant Jason Cloth, taken on September 20, 2023,

  which is attached as Exhibit 1. Plaintiff intends to play video excerpts of this transcript at trial.

         Mr. Cloth only informed Plaintiff that he would be absent from trial on May 6, 2024, after

  the deadline for seeking pretrial adjudication of deposition designations set forth in the Court’s

  Order Setting and Resetting Certain Deadlines (D.E. 79) had passed. Mr. Cloth resides in Canada,

  beyond the trial subpoena power of this Court, so Plaintiff was unable to compel his attendance.

         Designated Testimony (Page:Line)

         •   11:3-11

         •   15:19-16:24

         •   17:4-23

         •   18:6-19:9
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        •   20:2-15

        •   29:2-9

        •   33:22-34:12

        •   40:9-19

        •   59:16-18

        •   61:8-15

        •   62:5-8

        •   63:5-66:6

        •   70:2-73:5

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        •   77:12-24

        •   78:6-79:10

        •   81:16-83:18

        •   85:14-86:20

        •   88:21-90:8

        •   102:23-104-7

        •   105:3-15

        •   106:18-109:5

        •   110:22-111:6

        •   130:14-19

        •   131:7-145:11

        •   153:4-154:20

        •   220:25-221:14

        •   212:24-222:2



  Dated: May 7, 2024                 Respectfully submitted,
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                                                       /s/ Shalia M. Sakona
                                                       Shalia M. Sakona
                                                       Florida Bar No. 107398
                                                       Scott N. Wagner
                                                       Fla. Bar No.: 51662
                                                       BILZIN SUMBERG BAENA
                                                       PRICE & AXELROD LLP
                                                       1450 Brickell Ave., Suite 2300
                                                        Miami, Florida 33131-3456
                                                        Telephone: 305-374-7580
                                                        Email: ssakona@bilzin.com
                                                        Email: swagner@bilzin.com
                                                        Email: eservice@bilzin.com
                                                        Email: asolis@bilzin.com
                                                        Email: ekravets@bilzin.com

                                                        David B. Jonelis (pro hac vice)
                                                        Kelsey J. Leeker (pro hac vice)
                                                        LAVELY & SINGER
                                                        PROFESSIONAL CORPORATION
                                                        2049 Century Park East, Suite 2400
                                                        Los Angeles, California 90067
                                                        Tel.: (310) 556-3501
                                                        Email: djonelis@lavelysinger.com
                                                        Email: kleeker@lavelysinger.com

                                                        Attorneys for Plaintiffs Robert Scot Building
                                                        Venture LLC and RSBV Pathway LLC


                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on May 7, 2024, I electronically filed the foregoing document

  with the Clerk of the Court using CM/ECF, which will send a Notice of Electronic Filing to all

  counsel of record that are registered with the Court’s CM/ECF system. I further certify that

  concurrently with this filing, I served a copy of this document via electronic mail upon Jason Cloth.


                                                        /s/ Shalia Sakona
